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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 SYMBOLOGY INNOVATIONS, LLC,

      Plaintiff,
                                                         CASE NO. 2:15-cv-01174-JRG-RSP
 v.

 CIGNA HEALTH AND LIFE INSURANCE
 COMPANY and CIGNA DENTAL HEALTH,                              JURY TRIAL DEMANDED
 INC.,

      Defendants.




       DEFENDANTS CIGNA HEALTH AND LIFE INSURANCE COMPANY AND
      CIGNA DENTAL HEALTH, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND
                COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

          Defendants Cigna Health and Life Insurance Company and Cigna Dental Health,

 Inc.1 (collectively, “Cigna”) file this Answer and Counterclaims to Plaintiff Symbology

 Innovations, LLC’s (“Plaintiff”) Complaint. Cigna denies the allegations and

 characterizations in Plaintiff’s Complaint unless expressly admitted in the following

 paragraphs.

                                PARTIES AND JURISDICTION

          1.       Cigna admits that the Complaint purports to set forth an action for patent

 infringement and the Plaintiff purports to seek injunctive relief as well as damages, but

 denies that Plaintiff is entitled to any relief from Cigna.

 1 Plaintiff initially named Cigna Corporation as a defendant but has recently filed an

       unopposed motion to dismiss that entity without prejudice. See Dkt. No. 17.

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          2.   Cigna admits that the Complaint purports to set for an action for patent

 infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that

 this Court has subject matter jurisdiction over this case for patent infringement under 28

 U.S.C. §§ 1331 and 1338(a).

          3.   Cigna is without knowledge or information sufficient to form a belief as to

 the truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all

 such allegations.

          4.   Plaintiff has filed an unopposed motion to dismiss Cigna Corporation and

 denies the allegations of Paragraph 4 on that basis. See Dkt. No. 17.

          5.   Cigna Health and Life Insurance Company admits that it has a principal

 place of business at 900 Cottage Grove Road, Bloomfield, CT 06002 and that it can be

 served through its registered agent CT Corporation System at 350 North St. Paul Street,

 Dallas, TX 75201. Cigna Health and Life Insurance Company denies that it is a

 corporation organized and existing under the laws of the State of Delaware.

          6.   Cigna Dental Health, Inc., admits that it is an operating subsidiary of

 Cigna Corporation and has a principal office at 900 Cottage Grove Road, Bloomfield, CT

 06002.

          7.   Cigna denies the allegations of Paragraph 7 of the Complaint.

          8.   Cigna denies the allegations in paragraph 8 of the Complaint.




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                                          VENUE

         9.     Cigna admits that venue may be proper. Cigna denies that venue is

  convenient in this judicial district as to Cigna. Cigna denies it has committed acts of

  infringement and, on that basis, denies the remaining allegations of Paragraph 9.

                                         COUNT I

         10.    Cigna incorporates by reference the answers to paragraphs 1–9 above.

         11.    Cigna admits that the Complaint purports to set forth a claim under the

  patent laws of the United States. Cigna otherwise denies the remaining allegations of

  Paragraph 11 of the Complaint.

         12.    Cigna is without knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 12 of the Complaint and, on that basis, denies

  all such allegations.

         13.    Cigna admits that a purported copy of U.S. Patent No. 8,424,752 (the “’752

  Patent”) is attached to the complaint as Exhibit A and that the face of that patent

  indicates that it is entitled “System and Method for Presenting Information about an

  Object on a Portable Electronic Device.” Cigna lacks knowledge sufficient to confirm or

  deny if the document attached as Exhibit A is a true and correct copy of the ’752 Patent.

  Cigna otherwise denies the remaining allegations in paragraph 13.

         14.    Cigna denies the allegations in Paragraph 14 of the Complaint.

         15.    Cigna denies the allegations in Paragraph 15 of the Complaint.

         16.    Cigna denies the allegations in Paragraph 16 of the Complaint.

         17.    Cigna denies the allegations in Paragraph 17 of the Complaint.


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         18.    Cigna denies the allegations in Paragraph 18 of the Complaint.

         19.    Cigna is without knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 19 of the Complaint and, on that basis, denies

  all such allegations.

                                         COUNT II

         20.    Cigna incorporates by reference the answers to paragraphs 1–19 above.

         21.    Cigna admits that the Complaint purports to set forth a claim under the

  patent laws of the United States. Cigna otherwise denies the remaining allegations of

  Paragraph 21 of the Complaint.

         22.    Cigna is without knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 22 of the Complaint and, on that basis, denies

  all such allegations.

         23.    Cigna admits that a purported copy of U.S. Patent No. 8,651,369 (the “’369

  Patent”) is attached to the complaint as Exhibit B. Cigna denies that the ’369 Patent is

  entitled “System and Method for Presenting Information about an Object on a Portable

  Electronic Device.” Cigna lacks knowledge sufficient to confirm or deny if the

  document attached as Exhibit B is a true and correct copy of the ’369 Patent. Cigna

  otherwise denies the remaining allegations in paragraph 23.

         24.    Cigna denies the allegations in Paragraph 24 of the Complaint.

         25.    Cigna denies the allegations in Paragraph 25 of the Complaint.

         26.    Cigna denies the allegations in Paragraph 26 of the Complaint.

         27.    Cigna denies the allegations in Paragraph 27 of the Complaint

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         28.    Cigna denies the allegations in Paragraph 28 of the Complaint

         29.    Cigna is without knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 29 of the Complaint and, on that basis, denies

  all such allegations.

                                        COUNT III

         30.    Cigna incorporates by reference the answers to paragraphs 1–29 above.

         31.    Cigna admits that the Complaint purports to set forth a claim under the

  patent laws of the United States. Cigna otherwise denies the remaining allegations of

  Paragraph 31 of the Complaint.

         32.    Cigna is without knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 32 of the Complaint and, on that basis, denies

  all such allegations.

         33.    Cigna admits that a purported copy of U.S. Patent No. 8,936,190 (the “’190

  Patent”) is attached to the complaint as Exhibit C and that the face of that patent

  indicates that it is entitled “System and Method for Presenting Information about an

  Object on a Portable Electronic Device.” Cigna lacks knowledge sufficient to confirm or

  deny if the document attached as Exhibit C is a true and correct copy of the ’190 Patent.

  Cigna otherwise denies the remaining allegations in paragraph 33.

         34.    Cigna denies the allegations in Paragraph 34 of the Complaint.

         35.    Cigna denies the allegations in Paragraph 35 of the Complaint.

         36.    Cigna denies the allegations in Paragraph 36 of the Complaint.

         37.    Cigna Denies the allegations in Paragraph 37 of the Complaint

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         38.    Cigna Denies the allegations in Paragraph 38 of the Complaint

         39.    Cigna is without knowledge or information sufficient to form a belief as to

  the truth of the allegations in Paragraph 39 of the Complaint and, on that basis, denies

  all such allegations.

                                    PRAYER FOR RELIEF

         Cigna denies the Plaintiff is entitled to any relief from Cigna and denies all the

  allegations contained in Paragraphs a-e of Plaintiff’s Prayer for Relief.

                                 AFFIRMATIVE DEFENSES

         Cigna’s Affirmative Defenses are listed below. Cigna reserves the right to amend

  its Answer to add additional Affirmative Defenses, including allegations of inequitable

  conduct, consistent with the facts discovered in this case.

                              FIRST AFFIRMATIVE DEFENSE

         40.    Cigna has not infringed and does not infringe, under any theory of

  infringement (including directly (whether individually or jointly) or indirectly (whether

  contributorily or by inducement)), and valid, enforceable claim of the ’752, ’369, and

  ’190 Patents (collectively, the “Asserted Patents”).

                             SECOND AFFIRMATIVE DEFENSE

         41.    Each asserted claim of the Asserted Patents is invalid for failure to comply

  with one or more of the requirements of the United States Code, Title 35, including

  without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and

  laws pertaining thereto.




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                            THIRD AFFIRMATIVE DEFENSE

        42.    To the extent that Plaintiff and any predecessors in interest to any of the

  Asserted Patents failed to properly mark any of their relevant products or materials as

  required by 35 U.S.C § 287, or otherwise give proper notice that Cigna’s actions

  allegedly infringe the Asserted Patents, Cigna is not liable to Plaintiff for the acts

  alleged to have been performed before it received actual notice that it was allegedly

  infringing the Asserted Patents.

                           FOURTH AFFIRMATIVE DEFENSE

        43.    To the extent that Plaintiff asserts that Cigna indirectly infringes, either by

  contributory infringement or inducement of infringement, Cigna is not liable to Plaintiff

  for the acts alleged to have been performed before Cigna knew that its actions would

  cause indirect infringement.

                            FIFTH AFFIRMATIVE DEFENSE

        44.    Plaintiff’s attempted enforcement of the Asserted Patents against Cigna is

  barred by one or more of the equitable doctrines of laches, estoppel, acquiescence,

  waiver, and unclean hands.

                            SIXTH AFFIRMATIVE DEFENSE

        45.    The claims of the Asserted Patents are not entitled to a scope sufficient to

  encompass any system employed or process practiced by Cigna.




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                             SEVENTH AFFIRMATIVE DEFENSE

           46.   Plaintiff’s Complaint fails to state a claim upon which relief can be granted

  because the Asserted Patents do not claim patentable subject matter under 35 U.S.C.

  § 101.

                              EIGHTH AFFIRMATIVE DEFENSE

           47.   To the extent Plaintiff contends that it alleges a claim for indirect

  infringement (whether by inducement or contributorily), Plaintiff has failed to state a

  claim upon which relief can be granted.

                                CIGNA’S COUNTERCLAIMS

           For   its   counterclaims   against   Plaintiff   Symbology   Innovations,    LLC

  (“Symbology”), Counterclaim Cigna Corporation, Cigna Health and Life Insurance

  Company, and Cigna Dental Health, Inc. (collectively, “Cigna”) allege as follows:

                                           PARTIES

           1.    Counterclaim Plaintiff Cigna Health and Life Insurance Company is a

  corporation organized and existing under the laws of the State of Connecticut with its

  principal place of business at 900 Cottage Grove Road, Bloomfield, CT 06002. Cigna

  Health and Life Insurance Company can be served through its registered agent CT

  Corporation System at 350 North St. Paul Street, Dallas, TX 75201.

           2.    Counterclaim Plaintiff Cigna Dental Health, Inc. is a corporation

  organized and existing under the laws of the State of Florida, with its principal place of

  business at 900 Cottage Grove Road, Bloomfield, CT 06002. Cigna Dental Health, Inc.




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  can be served through its registered agent CT Corporation Systems at 1999 Bryan Street,

  Suite 900, Dallas, TX 75201.

         3.     Upon information and belief based solely on Paragraph 3 of the

  Complaint as plead by Plaintiff, Counterclaim Defendant Symbology Innovations, LLC,

  is a limited liability company organized and existing under the laws of the State of

  Texas and maintains its principle place of business at 1400 Preston Road, Suite 400,

  Plano, Texas 75093.

                                       JURISDICTION

         4.     Cigna incorporates by reference paragraphs 1–3 above.

         5.     These counterclaims arise under the patent laws of the United States, Title

  35, United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C.

  § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

         6.     Symbology has consented to the personal jurisdiction of this court by at

  least commencing their action for patent infringement in this district, as set forth in its

  Complaint.

         7.     Based solely on Symbology’s filing of this action, venue is proper, though

  not necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                          COUNT I

                 DECLARATION REGARDING NON-INFRINGEMENT

         8.     Cigna incorporates by reference paragraphs 1–7 above.




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         9.     Based on Symbology’s filing of this action and at least Cigna’s first

  affirmative defense, and actual controversy has arisen and now exists between the

  parties as to whether Cigna infringes the ’752, ’369, and ’190 Patents.

         10.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

  Cigna requests a declaration by the Court that Cigna has not infringed and does not

  infringe any claim of the ’752, ’369, and ’190 Patents under any theory (including

  directly (whether individually or jointly) or indirectly (whether contributorily or by

  inducement)).

                                           COUNT II

                       DECLARATION REGARDING INVALIDITY

         11.    Cigna incorporates by reference paragraphs 1–10 above.

         12.    Based on Symbology's filing of this action and at least Cigna’s Second

  Affirmative Defense, and actual controversy has arisen and now exists between the

  parties as to the validity of the claims of the ’752, ’369, and ’190 Patents.

         13.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

  Cigna requests a declaration by the Court claims of the ’752, ’369, and ’190 Patents are

  invalid for failure to comply with one or more of the requirements of United States

  Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the

  rules, regulations, and laws pertaining thereto.

                                     PRAYER FOR RELIEF

         WHEREFORE, Cigna asks this Court to enter judgment in Cigna’s favor and

  against Symbology by granting the following relief:


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         a)     a declaration that the ’752, ’369, and ’190 Patents are invalid;

         b)     a declaration that Cigna does not infringe, under any theory, any valid

  claim of the ’752, ’369, and ’190 Patents that may be enforceable;

         c)     a declaration the Symbology take nothing by its Complaint;

         d)     judgement against Symbology and in favor of Cigna;

         e)     dismissal of the Complaint with prejudice;

         f)     a finding that this case is an exceptional case under 35 U.S.C. § 285 and an

  award to Cigna of its costs and attorneys’ fees incurred in this action; and

         g)     further relief as the Court may deem just and proper.

                                       JURY DEMAND

         Cigna hereby demands trial by jury on all issues.




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  Dated: October 15, 2015                 Respectfully submitted,

                                          FISH & RICHARDSON P.C.



                                          By: /s/ Neil J. McNabnay
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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and

  foregoing document has been served on October 15, 2015, to all counsel of record who

  are deemed to have consented to electronic service via the Court’s CM/ECF system per

  Local Rule CV-5(a)(3).



                                             /s/ Ricardo J. Bonilla
                                                            Ricardo J. Bonilla




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